
PER CURIAM.
There being no competent substantial evidence that B.N.P. suffered repeat acts of violence, we are required to reverse. See McMath v. Biernacki, 776 So.2d 1039 (Fla. 1st DCA 2001); Anderson v. McGuffey, 746 So.2d 1257 (Fla. 1st DCA 2000). The trial court’s final judgment imposing an injunction against repeat violence (Case No. 1D04-1186) is reversed. The appeal from the order denying the motion to dissolve the injunction (Case No. 1D04-1611) is hereby dismissed as moot.
WOLF, C.J. and KAHN, J., concur; POLSTON, J., dissents with opinion.
